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                                                  U.S. Department of Justice
                                                                                              Page 3
                                                       United States Attorney
My und                                                 Southern District of New York
                                                      26 Federal Plaza, 37th Floor
                                                      New York, New York 10278


                                                       March 31, 2025


The Honorable Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Combs, S2 24 Cr. 542 (AS)

Dear Judge Subramanian:

         Pursuant to the Court’s scheduling order, (Dkt. 125), the parties’ motions in limine are due
to be filed on April 1, 2025, with oppositions on April 11, 2025. With consent of the defense, the
Government respectfully requests a one-day extension of both deadlines to April 2, 2025, and April
12, 2025, respectively.


                                                Respectfully submitted,

                                                MATTHEW PODOLSKY
                                                Acting United States Attorney

                                          By:      /s
                                                Maurene Comey / Meredith Foster /
                                                Emily A. Johnson / Christy Slavik /
                                                Madison Reddick Smyser / Mitzi Steiner
                                                Assistant United States Attorneys
                                                (212) 637-2324/-2310/-2409/-1113/-2381/-2284

cc:    Counsel of record (by ECF)
